                   Case 01-01139-AMC           Doc      Filed 07/08/21      Page 1 of 1



                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                      Chapter 7 (Involuntary)
 PARK PLACE DEVELOPMENT PRIMARY, LLC,
                                                                      Case No. 21-10849 (CSS)
                             Alleged Debtor.

                      MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro
hac vice of Andrew M. Minear of Fried, Frank, Harris, Shriver & Jacobson LLP to represent Malayan
Banking Berhad, New York Branch, as Administrative Agent for Malayan Banking Berhad, London
Branch, Intesa Sanpaolo S.P.A., New York Branch, Warba Bank K.S.C.P., and 45 Park Place
Investments, LLC in this action.

Dated: July 8, 2021                               /s/ Laura Davis Jones
                                                  Laura Davis Jones (DE Bar No. 2436)
                                                  Pachulski Stang Ziehl & Jones LLP
                                                  919 North Market Street, 17th Floor, P. O. Box 8705
                                                  Wilmington, DE 19899-8705 (Courier 19801)
                                                  Telephone: (302) 652-4100
                                                  Email: ljones@pszjlaw.com

               CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the States of New York and
California and submit to the disciplinary jurisdiction of this Court for any alleged misconduct which
occurs in the preparation or course of this action. I also certify that I am generally familiar with this
Court’s Local Rules and with Standing Order for District Court Fund revised 8/31/16. I further certify
that the annual fee of $25.00 has been paid to the Clerk of Court for District Court.

Dated: July 8, 2021                               /s/ Andrew M. Minear
                                                  Andrew M. Minear, Esq.
                                                  Fried, Frank, Harris, Shriver & Jacobson LLP
                                                  One New York Plaza
                                                  New York, NY 10004
                                                  Telephone: (212) 859-8000
                                                  Email: Andrew.Minear@friedfrank.com

                                     ORDER GRANTING MOTION

IT IS HEREBY ORDERED counsel's motion for admission pro hac vice is granted.




DOCS_DE:235212.1 68700/001
